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  July 17, 2024




Hearing on M&A’s Motion to Dismiss
Case No. 2:23-cv-00349, Autoscribe Corp. v. Repay Holdings Corp., et al.




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   Autoscribe has agreed to drop the holding companies
                                                           Repay
                                                          Holdings
                                                           Corp.



      Dismissed Parties
                                                           Repay
                                                          Holdings,
                                                            LLC



                            CDT                            M&A                            Repay
                         Techs. Ltd.                     Ventures,                       Mngmnt.
                                                           LLC                          Servs. LLC

Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                             2
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    § 1406 Improper Venue




                                                                                3
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   Relationship between entities




Source: Dkt. 38-2, Ex. A to Autoscribe’s Response                                                       4
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   Relationship between entities
                                                           Repay
                                                          Holdings
                                                           Corp.




                                                           Repay
                                                          Holdings,
                                                            LLC



                            CDT                            M&A                            Repay
                         Techs. Ltd.                     Ventures,                       Mngmnt.
                                                           LLC                          Servs. LLC


Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                             5
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   Relationship between entities
                                                           Repay
                                                          Holdings
                                                           Corp.



      Named Defendant
       • No EDTX location                                  Repay
       • No TX employees                                  Holdings,
       • Improper venue                                     LLC



                            CDT                            M&A                            Repay
                         Techs. Ltd.                     Ventures,                       Mngmnt.
                                                           LLC                          Servs. LLC


Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                             6
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   Relationship between entities
                                                           Repay
                                                          Holdings
                                                           Corp.



      Named Defendant
                                                           Repay
                                                          Holdings,
                                                            LLC




   Office in                CDT                            M&A                            Repay            TX
                         Techs. Ltd.                     Ventures,                       Mngmnt.
    EDTX                                                   LLC                          Servs. LLC
                                                                                                        employees

Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                                    7
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EDTX location is threshold issue

 • Autoscribe must demonstrate that M&A has a location in the Eastern District
   of Texas. It only points to an office in The Colony leased by CDT.

 • Autoscribe bears the burden of proof to demonstrate proper venue. Jerger v.
   D&M Leasing Dallas, No. 4:20-cv-00309, 2020 WL 4335733, at *2 (E.D.
   Tex. July 28, 2020).

 • Proper venue requires a place of business in the District. That place of
   business must be “of the defendant.” In re Cray, 871 F.3d 1355, 1360 (Fed.
   Cir. 2017).




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EDTX location is threshold issue



          Is the office in The Colony a regular and
          established place of business of M&A
          Ventures, LLC?




                                                                                         9
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   When is a location “of the defendant”?

      • In re Cray lists these relevant considerations:

           • “whether the defendant owns or leases the place, or exercises other
             attributes of possession or control over the place”;

           • “whether the defendant conditioned employment on an employee’s
             continued residence in the district or the storing of materials at a place in
             the district so that they can be distributed or sold from that place”; and

           • “representations that it has a place of business in the district. . . [b]ut the
             mere fact that a defendant has advertised that it has a place of business
             or has even set up an office is not sufficient; the defendant must actually
             engage in business from that location.”

In re Cray, 871 F.3d 1355, 1363-64 (Fed. Cir. 2017).                                                      10
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   CDT leases the only place of business in EDTX




               No argument by Autoscribe that M&A “exercises other attributes of
               possession or control over the place.”

Source: Dkt. 47-3, Ex. A to Repay’s Reply (excerpted and annotated)                                     11
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   Relationship between entities
                                                           Repay
                                                          Holdings
                                                           Corp.



      Named Defendant
                                                           Repay
                                                          Holdings,
                                                            LLC




   Office in                CDT                            M&A                            Repay
                         Techs. Ltd.                     Ventures,                       Mngmnt.
    EDTX                                                   LLC                          Servs. LLC

Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                              12
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   When is a location “of the defendant”?

      • In re Cray lists these relevant considerations:


    X      • “whether the defendant owns or leases the place, or exercises other
             attributes of possession or control over the place”;

           • “whether the defendant conditioned employment on an employee’s
             continued residence in the district or the storing of materials at a place in
             the district so that they can be distributed or sold from that place”; and

           • “representations that it has a place of business in the district. . . [b]ut the
             mere fact that a defendant has advertised that it has a place of business
             or has even set up an office is not sufficient; the defendant must actually
             engage in business from that location.”

In re Cray, 871 F.3d 1355, 1363-64 (Fed. Cir. 2017).                                                      13
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   When is a location “of the defendant”?

      • In re Cray lists these relevant considerations:


    X      • “whether the defendant owns or leases the place, or exercises other
             attributes of possession or control over the place”;

    X • “whether the defendant conditioned employment on an employee’s
        continued residence in the district or the storing of materials at a place in
              the district so that they can be distributed or sold from that place”; and

           • “representations that it has a place of business in the district. . . [b]ut the
             mere fact that a defendant has advertised that it has a place of business
             or has even set up an office is not sufficient; the defendant must actually
             engage in business from that location.”

In re Cray, 871 F.3d 1355, 1363-64 (Fed. Cir. 2017).                                                      14
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Repay sign does not prove The Colony office is M&A’s


                                   “The court finds that the use of the common or
                                   generic name Medtronic on the exterior of the
                                   building . . . [is] insufficient to establish that
                                   venue in this district is proper for the Board's
                                   claims alleged against Medtronic, Inc. in this
                                   action.” Bd. of Regents, The University of Texas
                                   System v. Medtronic, PLC, Cause No. A-17-CV-
                                   0942-LY, 2018 WL 4179080, at *2 (W.D. Tex.
                                   July 19, 2018).




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   Repay’s SEC filings do not prove The Colony office is
   M&A’s

                                                                                           Repay Holdings
                                                                                           Corp.’s SEC filings
                                                                                           are consolidated
                                                                                           and include
                                                                                           information about
                                                                                           its subsidiaries.


 “None of the public filings cited by Andra demonstrate LBI's control, because they are
 documents covering all of LBI's brands. The documents’ use of ‘we’ does not convey that
 ‘we’ means LBI specifically, but that ‘we’ could include the individual subsidiary brands,
 like Stores.” Andra Grp., LP v. Victoria's Secret Stores, L.L.C., 6 F.4th 1283, 1288 (Fed.
 Cir. 2021).
Source: Dkt. 38-14, Ex. M to Autoscribe’s Response (excerpted and annotated)                                     16
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   PCI compliance does not prove The Colony office is
   M&A’s




Source: Dkt. 38-21, Ex. T to Autoscribe’s Response (excerpted and annotated)                            17
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   When is a location “of the defendant”?

      • In re Cray lists these relevant considerations:


    X      • “whether the defendant owns or leases the place, or exercises other
             attributes of possession or control over the place”;

    X • “whether the defendant conditioned employment on an employee’s
        continued residence in the district or the storing of materials at a place in
              the district so that they can be distributed or sold from that place”; and

    X • “representations  that it has a place of business in the district. . . [b]ut the
        mere fact that a defendant has advertised that it has a place of business
              or has even set up an office is not sufficient; the defendant must actually
              engage in business from that location.”

In re Cray, 871 F.3d 1355, 1363-64 (Fed. Cir. 2017).                                                      18
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   “Place of business” requires employees or agents
        • “[A] ‘place of business’ generally requires an employee or agent of the
          defendant to be conducting business at that place.” In re Google LLC, 949
          F.3d 1338, 1344 (Fed. Cir. 2020).

             • All employees in The Colony are employed by Repay Management
               Services, LLC. M&A does not have employees. Dkt. 64-5 at 9.

             • No argument by Autoscribe that Repay Management Services, LLC’s
               employees are agents of M&A.

        • No evidence of any M&A tasks here. Performance of isolated tasks on
          behalf of the Defendant does not create venue absent showing of agency.
          See Andra Grp., LP v. Victoria's Secret Stores, L.L.C., 6 F.4th 1283, 1289
          (Fed. Cir. 2021).
Source: Dkt. 64-5 at 9, Ex. E to M&A’s Motion to Dismiss                                                 19
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   Relationship between entities
                                                           Repay
                                                          Holdings
                                                           Corp.



      Named Defendant
                                                           Repay
                                                          Holdings,
                                                            LLC



                            CDT                            M&A                            Repay             TX
                         Techs. Ltd.                     Ventures,                       Mngmnt.
                                                           LLC                          Servs. LLC
                                                                                                         employees

Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                                     20
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   “Place of business” requires employees or agents
        Alleged M&A Activity                        Reality
        The Colony office has mail facilities.      •   No evidence that any M&A documents are printed and mailed.
                                                    •



        A job posting for a software developer      •   No evidence this person was hired or does work for M&A from The
                                                        Colony.
                                                    •




        Employees who are “likely to pertain (at    •   No evidence of a single employee actually performing work on
        least in part) to M&A”                          behalf of M&A
                                                    •

                                                    •

        Repay’s LIFT product is not sold by M&A     •   The fact that it interfaces with the Gateway does not mean it
                                                        becomes an M&A product or that The Colony office is M&A’s.

Source: Dkt. 64-5 at 9, Ex. E to M&A’s Motion to Dismiss                                                                  21
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Corporate relative’s office does not create venue


  • But where related companies have maintained corporate separateness,
    the place of business of one corporation is not imputed to the other for
    venue purposes. See Andra Grp., LP v. Victoria's Secret Stores, L.L.C., 6
    F.4th 1283, 1289 (Fed. Cir. 2021).

  • Autoscribe has a “heavy burden” to demonstrate alter ego applies. Adm’rs
    of Tulane Educ. Fund. v. Ipsen, S.A., 450 F. App’x 326, 331 (5th Cir. 2011).




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   Autoscribe must show lack of corporate separateness
   between three entities
                                                           Repay
                                                          Holdings
                                                           Corp.                **No argument by Autoscribe
                                                                                that M&A is alter ego of Repay
                                                                                Management Services, LLC.


                                                           Repay
                                                          Holdings,
                                                            LLC



                            CDT                            M&A                            Repay
                         Techs. Ltd.                     Ventures,                       Mngmnt.
                                                           LLC                          Servs. LLC


Source: Dkt. 38-2, Ex. A to Autoscribe’s Response (excerpted and annotated)                                      23
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Defendants maintain corporate separateness
 • Autoscribe waived the right to rely on alter ego by raising it for the first
   time in its sur-reply (Dkt. 54). Dugger v. Stephen F. Austin State Univ., 232
   F. Supp. 3d 938, 957 (E.D. Tex. 2017).

 • Activities consistent with parent/subsidiary relationship should not give
   rise to a finding of an alter ego. U.S. v. Bestfoods, 524 U.S. 51, 72 (1998).




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   Defendants maintain corporate separateness
        • No evidence of the following factors between CDT and M&A:
             • financing of one entity by the controlling entity; (Dkt. 67-1 at ¶ 13)
             • causation of incorporation of one entity by the controlling entity; (Dkt. 67-1 at ¶ 14)
             • operation of the subsidiary entity with grossly inadequate capital; (Dkt. 67-1 at ¶ 14)
             • the controlling entity pays salaries and expenses of the other entity; (Dkt. 67-1 at ¶
               13)
             • entity receives no business except that given by the controlling entity; (Dkt. 67-1 at ¶
               14)
             • daily operations of the two corporations are not kept separate; (Dkt. 67-1 at ¶ 14)
             • the entities do not observe corporate formalities (Dkt. 67-1 at ¶¶ 7-10)




Source: Bridas S.A.P.I.C. v. Gov’t of Turkmenistan, 447 F.3d 411, 418 (5th Cir. 2006).                    25
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         § 1404 Transfer for
                    Convenience




                                                                                 26
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   Suit could be brought in the N.D. Georgia



       • M&A resides in Georgia and meets the first prong of § 1404
           • Organized under Georgia law
           • Headquartered in Atlanta, Georgia




Source: Dkt. 69-1, ¶ 5 (Declaration of Tyler Dempsey).                                                   27
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    Convenience of witnesses weighs in favor of transfer
       •    M&A has identified 8 witnesses in Georgia:                     •   M&A has identified 7 more on the East Coast:
            •   David Guthrie, CTO                                             •Phoenix (VA)
            •   Srinimukesh Manickam, VP of Engineering                        •Jesse Parker (AL)
            •   Jake Moore, VP of Corp. Development                            •Robert Pollin (inventor, MD)*
            •   Tim Murphy, CFO                                                •Brian Downey (inventor, VA)*
            •   Christina Bracken, VP, Revenue accounting                      •Sean Fleming (inventor, MD)*
            •   Kristen Hoyman, VP of Marketing                                •Johnathan King (patent prosecutor, PA)*
            •   Megan Carswell, Marketing Manager                              •Autoscribe employees (FL)*
            •   Wes Hull, knowledge of tokenization



                                        •     There are only three potential M&A witnesses in Texas:
                                               • Eben Esterhuyse
                                               • Matt Mills
                                               • Allen Craig




Source: Dkts. 47-4, 47-5, 67-1, 72-15, 81-1                                                                                   28
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    Parties’ interactions in Georgia




Source: Dkt. 15-3                                                                                    29
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Practical problems are neutral
   • The cases consolidated with this one have settled.
   • Autoscribe has three suits pending in the S.D.Tex. and another on a
     different schedule in this District. Transfer would not increase practical
     problems.
         Autoscribe Corporation v. Fortis Payment Systems, LLC   2-23-cv-00364           E.D. TX


         Autoscribe Corporation v. Payment Savvy, LLC            2-23-cv-00390           E.D. TX

         Autoscribe Corporation v. Tsevo, LLC et al              3-24-cv-00076           S.D. TX

         Autoscribe Corporation v. PCI Booking Limited           3-24-cv-00081           S.D. TX

         Autoscribe Corporation v. Paysafe Limited et al         3-24-cv-00104           S.D. TX

         Autoscribe Corporation v. Nuvei Corporation et al       2-24-cv-00325           E.D. TX



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